Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 1 of 9   Pageid#:
                                    218
Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 2 of 9   Pageid#:
                                    219
Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 3 of 9   Pageid#:
                                    220
Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 4 of 9   Pageid#:
                                    221
Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 5 of 9   Pageid#:
                                    222
Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 6 of 9   Pageid#:
                                    223
Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 7 of 9   Pageid#:
                                    224
Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 8 of 9   Pageid#:
                                    225
Case 5:06-cr-00039-GEC   Document 120 Filed 05/09/07   Page 9 of 9   Pageid#:
                                    226
